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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

*

UNITED STATES OF AMERICA *
Vv. * CRIMINAL NO. JKB-16-0259
ELMIN IVAN PORTILLO-GUITERREZ, *
et al.
Defendants
* * * * * * * * * te * *

ORDER
A TELEPHONE STATUS CONFERENCE is set in for October 26, 2018, at 9:30 a.m.
Counsel for the Government is directed to arrange for and initiate the conference call to
chambers. Counsel for those Defendants who have not reached agreements with the Government

are required to participate.

DATED this [4 day of September, 2018.

BY THE COURT:

J Dao 1K [PP glen

Jamés K. Bredar
Chief Judge

 
